Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 1 of 128 PageID 171




                        Exhibit 2
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 2 of 128 PageID 172
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 3 of 128 PageID 173
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 4 of 128 PageID 174
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 5 of 128 PageID 175
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 6 of 128 PageID 176
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 7 of 128 PageID 177
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 8 of 128 PageID 178
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 9 of 128 PageID 179
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 10 of 128 PageID 180
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 11 of 128 PageID 181
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 12 of 128 PageID 182
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 13 of 128 PageID 183
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 14 of 128 PageID 184
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 15 of 128 PageID 185
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 16 of 128 PageID 186
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 17 of 128 PageID 187
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 18 of 128 PageID 188
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 19 of 128 PageID 189
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 20 of 128 PageID 190
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 21 of 128 PageID 191
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 22 of 128 PageID 192
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 23 of 128 PageID 193
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 24 of 128 PageID 194
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 25 of 128 PageID 195
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 26 of 128 PageID 196
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 27 of 128 PageID 197
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 28 of 128 PageID 198
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 29 of 128 PageID 199
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 30 of 128 PageID 200
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 31 of 128 PageID 201
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 32 of 128 PageID 202
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 33 of 128 PageID 203
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 34 of 128 PageID 204
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 35 of 128 PageID 205
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 36 of 128 PageID 206
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 37 of 128 PageID 207
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 38 of 128 PageID 208
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 39 of 128 PageID 209
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 40 of 128 PageID 210
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 41 of 128 PageID 211
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 42 of 128 PageID 212
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 43 of 128 PageID 213
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 44 of 128 PageID 214
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 45 of 128 PageID 215
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 46 of 128 PageID 216
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 47 of 128 PageID 217
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 48 of 128 PageID 218
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 49 of 128 PageID 219
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 50 of 128 PageID 220
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 51 of 128 PageID 221
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 52 of 128 PageID 222
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 53 of 128 PageID 223
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 54 of 128 PageID 224
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 55 of 128 PageID 225
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 56 of 128 PageID 226
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 57 of 128 PageID 227
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 58 of 128 PageID 228
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 59 of 128 PageID 229
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 60 of 128 PageID 230
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 61 of 128 PageID 231
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 62 of 128 PageID 232
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 63 of 128 PageID 233
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 64 of 128 PageID 234
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 65 of 128 PageID 235
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 66 of 128 PageID 236
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 67 of 128 PageID 237
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 68 of 128 PageID 238
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 69 of 128 PageID 239
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 70 of 128 PageID 240
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 71 of 128 PageID 241
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 72 of 128 PageID 242
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 73 of 128 PageID 243
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 74 of 128 PageID 244
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 75 of 128 PageID 245
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 76 of 128 PageID 246
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 77 of 128 PageID 247
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 78 of 128 PageID 248
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 79 of 128 PageID 249
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 80 of 128 PageID 250
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 81 of 128 PageID 251
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 82 of 128 PageID 252
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 83 of 128 PageID 253
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 84 of 128 PageID 254
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 85 of 128 PageID 255
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 86 of 128 PageID 256
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 87 of 128 PageID 257
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 88 of 128 PageID 258
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 89 of 128 PageID 259
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 90 of 128 PageID 260
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 91 of 128 PageID 261
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 92 of 128 PageID 262
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 93 of 128 PageID 263
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 94 of 128 PageID 264
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 95 of 128 PageID 265
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 96 of 128 PageID 266
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 97 of 128 PageID 267
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 98 of 128 PageID 268
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 99 of 128 PageID 269
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 100 of 128 PageID 270
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 101 of 128 PageID 271
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 102 of 128 PageID 272
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 103 of 128 PageID 273
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 104 of 128 PageID 274
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 105 of 128 PageID 275
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 106 of 128 PageID 276
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 107 of 128 PageID 277
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 108 of 128 PageID 278
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 109 of 128 PageID 279
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 110 of 128 PageID 280
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 111 of 128 PageID 281
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 112 of 128 PageID 282
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 113 of 128 PageID 283
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 114 of 128 PageID 284
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 115 of 128 PageID 285
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 116 of 128 PageID 286
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 117 of 128 PageID 287
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 118 of 128 PageID 288
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 119 of 128 PageID 289
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 120 of 128 PageID 290
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 121 of 128 PageID 291
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 122 of 128 PageID 292
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 123 of 128 PageID 293
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 124 of 128 PageID 294
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 125 of 128 PageID 295
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 126 of 128 PageID 296
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 127 of 128 PageID 297
Case 8:24-cv-00716-JSM-UAM Document 1-2 Filed 03/21/24 Page 128 of 128 PageID 298
